                                     1:19-cv-01028-CSB # 43         Page 1 of 1
                                                                                                          E-FILED
Judgment in a Civil Case (02/11)                                                Monday, 01 June, 2020 02:46:16 PM
                                                                                     Clerk, U.S. District Court, ILCD
                             UNITED STATES DISTRICT COURT
                                                     for the
                                            Central District of Illinois

Vidal Rainey                                         )
                                                     )
                    Plaintiff,                       )
                                                     )
                               vs.                   )        Case Number: 19-1028
                                                     )
Kelly Renzi, Susan K. Prentice,                      )
Jeremy Whicker, Andrea Moss.                         )
                                                     )
                    Defendants.                      )

                                        JUDGMENT IN A CIVIL CASE

  ☐ JURY VERDICT. This action came before the Court for a trial by jury.                    The issues
have been tried and the jury has rendered its verdict.

  ☒ DECISION BY THE COURT.                        This action came before the Court, and a decision has
been rendered.

     IT IS ORDERED AND ADJUDGED that Plaintiff Vidal Rainey’s action against
Defendants Kelly Renzi, Susan K. Prentice, Jeremy Whicker and Andrea Moss is dismissed.

Dated: 6/1/2020

                                                              s/ Shig Yasunaga
                                                              Shig Yasunaga
                                                              Clerk, U.S. District Court
